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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                   :
                                           :
         v.                                :     Crim. No. 20-210
                                           :
MICHAEL “OZZIE” MYERS                      :

                                     ORDER

      AND NOW, this 13th day of May, 2022, upon consideration of Defendant’s Motion to

Continue Trial (Doc. No. 90) and the Government’s Response (Doc. No. 93), it is hereby

ORDERED that Defendant’s Motion (Doc. No. 90) is DENIED.



                                                    AND IT IS SO ORDERED.


                                                    /s/ Paul S. Diamond
                                                    _________________________
                                                    Paul S. Diamond, J.
